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 6
 7                  UNITED STATES DISTRICT COURT
 8                     EASTERN DISTRICT OF CALIFORNIA
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10
     TONY B. ALEXANDER,               ) 1:09-cv—00434-SKO-HC
11                                    )
                    Petitioner,       ) ORDER DEEMING MOTION (DOC. 16) TO
12                                    ) BE A TRAVERSE
                                      )
13        v.                          ) ORDER DENYING REQUEST CONCERNING
                                      ) TRAVERSE (DOC. 15) AS MOOT
14   SCOTT SCHLEDER, Southeast        )
     Regional DHO,                    )
15                                    )
                    Respondent.       )
16                                    )
                                      )
17
18        Petitioner is a federal prisoner proceeding pro se with a
19   petition for writ of habeas corpus pursuant to 28 U.S.C. § 2241.
20   Pursuant to the parties’ consent, the matter has been referred to
21   the Magistrate Judge for all proceedings, including the entry of
22   final judgment, pursuant to 28 U.S.C. § 636(c), Fed. R. Civ. P.
23   73(b), and Local Rule 301.
24        On March 8, 2010, Petitioner filed a document (Doc. 16)
25   entitled, “Motion Pursuant Traverse For the order concerning 28
26   U.S.C. section 2241 In Violation of Plaintiff Procedural Due
27   Process and Fifth Amendment rights,” in which Petitioner
28   responded to the answer previously filed by Respondent.          In order

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 1   to maintain an accurate docket, the Court DEEMS Petitioner’s
 2   motion to be Petitioner’s traverse to Respondent’s answer to the
 3   petition.
 4            Further, Petitioner’s request (Doc. 15), entitled as an
 5   emergency motion concerning Petitioner’s traverse and filed on
 6   February 17, 2010, is DENIED as moot because Petitioner’s
 7   traverse has been located and has been filed.
 8
 9   IT IS SO ORDERED.
10   Dated:     June 20, 2010                  /s/ Sheila K. Oberto
     ie14hj                            UNITED STATES MAGISTRATE JUDGE
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